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11
                                  UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
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14

15   CASINA BUTLER and BENSON PAI, on                Case No. 4:24-cv-02955-JST
     behalf of themselves and all others similarly
16   situated,                                       Hon. Jon S. Tigar
17                      Plaintiffs,                  DEFENDANT BIC USA INC.’S
                                                     NOTICE OF MOTION AND MOTION
18          v.                                       TO DISMISS PLAINTIFFS’ CLASS
                                                     ACTION COMPLAINT
19   BIC USA INC.
                                                     Hearing Date: October 10, 2024
20                      Defendant.
                                                     Time: 2:00 p.m.
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                                                     Courtroom 6 – 2nd Floor
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        DEFENDANT BIC USA INC.’S MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION COMPLAINT
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 1            NOTICE OF MOTION AND MOTION TO DISMISS THE COMPLAINT
 2          PLEASE TAKE NOTICE that on October 10, 2024 at 2:00 pm, before the Honorable Jon
 3   S. Tigar, Defendant BIC USA Inc. (“BIC”) will and hereby does move this Court for an order
 4   dismissing Plaintiffs’ Class Action Complaint.
 5          This Motion is based on the Memorandum of Points and Authorities, the accompanying
 6   Request for Judicial Notice and its appended documents, and such oral argument and evidence as
 7   the Court may consider at the hearing.
 8

 9   Date: August 12, 2024                            HOGAN LOVELLS US LLP
10

11                                              By: /s/ Trenton H. Norris
12                                                   Trenton H. Norris
                                                     Lauren S. Colton
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                                                      Attorneys for Defendant
14                                                    BIC USA Inc.
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         DEFENDANT BIC USA INC.’S MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION COMPLAINT
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           In this putative consumer class action, Plaintiffs Casina Butler and Benson Pai contend that
 4   they suffered economic injuries because Defendant BIC USA Inc. (“BIC”) did not directly inform
 5   consumers that its disposable razor products (the “Products”) 1 contain allegedly harmful per- and
 6   polyfluoroalkyl substances (known collectively as “PFAS”). Plaintiffs do not identify any law or
 7   duty requiring BIC to disclose this information to consumers. Plaintiffs also do not identify the
 8   specific type or amount of PFAS purportedly contained in BIC’s Products (opting instead to broadly
 9   refer to “PFAS” throughout the Complaint), even though many of these compounds are considered
10   safe and approved even for such sensitive applications as food packaging and medical device
11   implants. This pure omission case is plainly ill-pled and, if successful, would impose a disclosure
12   obligation on BIC using a standard that has never been applied to any other consumer product
13   manufacturer.
14           Plaintiffs filed this suit because BIC voluntarily disclosed to Maine regulators in January
15   2023 that the Products contain a miniscule amount of one specific PFAS—polytetrafluoroethylene
16   (“PTFE”)—that is widely used throughout the razor industry (hereinafter “BIC’s Maine
17   Disclosure”) 2 and that has been formally approved by the U.S. Food and Drug Administration
18   (“FDA”) since 1977 as a food contact material 3 and since 1986 in countless medical device
19   implants. 4 BIC disclosed this information pursuant to a Maine law that at the time required
20   manufacturers of certain products to disclose intentional PFAS use to Maine regulators. (The Maine
21   law has since been amended to remove this obligation.) Plaintiffs have no basis to allege that the
22
     1
       The Complaint (¶ 1 n.1) defines the Products to include “all varieties of BIC Sensitive Disposable
23   Razors, BIC EasyRinse Disposable Razors, BIC Soleil Disposable Razors, BIC Flex Disposable
     Razors, BIC Hybrid Comfort Disposable Razors, and BIC Comfort Disposable Razors.”
24   2
       Lori Valigra, New list of thousands of products with ‘forever chemicals’ in Maine includes BIC
25   razors and floor finishes, Bangor Daily News (Mar. 6, 2024), available at https://shorturl.at/Keq3Y,
     attached as Request for Judicial Notice (“RJN”) Ex. 1; Compl. ¶ 31 n.16.
26   3
       See 21 C.F.R. § 175.300(b)(3)(xxv); 42 Fed. Reg. 14547 (Mar. 15, 1977) (approving use of PTFE
27   in food-contact surfaces like food packaging and cookware).
     4
       See, e.g., 21 C.F.R. §§ 870.3450 (cardiovascular prosthetics), 872.3680 (jaw implants), 874.3430
28   (ear prosthetics); 878.4520 (vocal cord injections); 51 Fed. Reg. 40391-92 (Nov. 6, 1986).
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            DEFENDANT BIC USA INC.’S MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION COMPLAINT
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 1   Products contain any “PFAS” other than the PTFE referenced in BIC’s Maine Disclosure. (See
 2   Compl. ¶ 31 n.16). Yet they do not even allege the presence of PTFE, preferring instead to refer to
 3   the uncertain dangers encompassed by the broad term “PFAS.” Plaintiffs also fail to plausibly
 4   connect their alleged economic injuries to BIC’s Products. The Complaint should be dismissed for
 5   several reasons.
 6           First, Plaintiffs fail to adequately plead a consumer protection claim under California’s
 7   Consumers Legal Remedies Act (“CLRA”), False Advertising Law (“FAL”), or under the
 8   fraudulent, unfair, or unlawful prongs of the Unfair Competition Law (“UCL”) (Counts I-V).
 9   Plaintiffs fail to plead that BIC had a duty to disclose the presence of PTFE in the Products to
10   consumers. This suffices to dismiss all of their consumer protection claims because they cannot
11   allege an actionable omission absent a duty to disclose. These claims also fail because: (i) Plaintiffs
12   cannot allege a pure omissions claim under the FAL, (ii) they fail to plead a predicate act for their
13   “unlawful” UCL claim, and (iii) their “unfair” UCL claim is duplicative and fails on the merits.
14           Second, Plaintiffs’ fraud (Count VI) and consumer protection claims fail to satisfy the
15   heightened pleading standard of Rule 9(b) because Plaintiffs neither (i) allege that BIC intended to
16   deceive consumers, nor (ii) plausibly connect BIC’s purported omissions to their alleged injuries
17   and demonstrate that, had the omitted information been disclosed, they would have reconsidered
18   purchasing the Products. Third, Plaintiffs’ negligent failure to warn claim (Count VIII) fails
19   because Plaintiffs do not plausibly allege that BIC’s Products contain a type and level of PFAS that
20   poses a risk of harm to consumers. Fourth, Plaintiffs’ unjust enrichment claim (Count VII) fails
21   because it is duplicative of their failed consumer protection claims and because they fail to specify
22   which state law governs this claim. Fifth, the Court should dismiss or strike the nationwide class
23   allegations to the extent Plaintiffs assert claims of non-resident class members against BIC for
24   conduct occurring outside of California.
25   II.     BACKGROUND
26           A.     “PFAS” Versus PTFE
27           Per- and polyfluoroalkyl substances (“PFAS”) are a broad group of “more than 12,000”
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           DEFENDANT BIC USA INC.’S MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION COMPLAINT
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 1   different man-made compounds that are “used in thousands of products.” 5 As one source cited in
 2   the Complaint explains, “PFAS were first developed in the 1940s,” although “it was not until the
 3   late 1990s” that the public came to know more about these substances. (See supra n.5). By now,
 4   however, the ubiquity of PFAS is “well known,” “turning up in all manner of previously unexpected
 5   places, including toilet paper, menstrual products, and contact lenses.” Id. PFAS are known to be
 6   “widespread in the environment” and are “found in people, wildlife and fish all over the world.” 6
 7           Not all PFAS are the same. Sources relied on in the Complaint concede that, while “[m]ost
 8   research to date has focused on perfluorooctanoic acid (PFOA) and perfluorooctane sulfonic acid
 9   (PFOS), which are known to be more toxic than many other studied PFAS,” “more research is
10   needed to fully understand the health risks from using [] PFAS-containing products.” 7 And
11   according to the U.S. Environmental Protection Agency (“EPA”), current research only “suggests
12   that exposure to certain PFAS may lead to adverse health outcomes,” but “research is still ongoing”
13   to evaluate the “different levels” and types of PFAS. 8 In keeping with the understanding that not
14   all PFAS are the same or should be treated the same, the EPA recently issued a rule that “sets
15   [different] drinking water limits for five individual PFAS,” including PFOA and PFOS – but not
16   PTFE. 9 It is therefore well known that the level and type of PFAS matters. Despite all this,
17   Plaintiffs assert that unspecified levels of still unspecified PFAS in the Products “are indisputably
18   linked to harmful health effects in humans.” (See Compl. ¶ 34).
19           BIC’s Maine Disclosure identified the presence of one PFAS compound, PTFE, in the
20

21
     5
       Jeffrey Kluger,, Companies knew the dangers of PFAS ‘forever chemicals’ and kept them secret,
22
     TIME (June 1, 2023), available at https://shorturl.at/1LuPQ, attached as RJN Ex. 2; Compl. ¶ 6 n.3.
     6
23      Agency for Toxic Substances and Disease Registry (ATSDR), PFAS FAQs, available at
     https://www.atsdr.cdc.gov/pfas/resources/pfas-faqs.html, attached as RJN Ex. 7.
24   7
       Nicholas J. Herkert, et al., Characterization of Per- and Polyfuorinated Alkyl Substances Present
25   in Commercial Anti-fog Products and Their In Vitro Adipogenic Activity, 56 Env. Sci. Tech. 1162-
     73 (2022), attached as RJN Ex. 3; see also Compl. ¶ 2 n.2.
26   8
       U.S. EPA, Our Current Understanding of the Human Health and Environmental Risks of PFAS,
     available at https://shorturl.at/p031o, attached as RJN Ex. 8 (emphasis added).
27   9
        The White House, Fact Sheet: Biden-Harris administration takes critical action to protect
28   communities from PFAS pollution in drinking water (Apr. 10, 2024), available at
     https://shorturl.at/7djrH, attached as RJN Ex. 4; see also Compl. ¶ 24 n.10.
                                                  3
          DEFENDANT BIC USA INC.’S MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION COMPLAINT
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 1   Products. 10 Commonly known as Teflon®, PTFE is one specific type of PFAS out of the thousands
 2   of PFAS compounds identified to date. PTFE is not among the list of specific PFAS compounds
 3   about which federal government officials have expressed concern. Indeed, as Plaintiffs’ own
 4   citation confirms, regulators have expressly approved the use of PTFE in certain products, such as
 5   medical devices. 11 The FDA has also approved PTFE’s use in food packaging and cookware. (See
 6   supra nn. 3 & 4). Not surprisingly, nowhere does the Complaint (or any citation) allege that PTFE
 7   specifically is harmful to human health or restricted in its use. Instead, the Complaint repeatedly
 8   raises concerns of unspecified “PFAS,” as though each of the approximately 12,000 compounds in
 9   this class is uniformly toxic across all possible types of exposure – a fictitious theory contradicted
10   by scientific authorities and Plaintiffs’ own citations. What’s more is that a quick inspection of
11   authorities cited in the Complaint shows that Plaintiffs rely on only two scientific journal
12   publications – one examining how cats are exposed to PFAS, another characterizing PFAS found
13   in anti-fog products 12 – neither of which describe PTFE.
14            Plaintiffs’ cited sources also confirm the utility and widespread use of PTFE in razor blades
15   in the razor industry. One source states that “PTFE-lubricating coatings date back to 1963,” offering
16   the “benefit of less force required to cut human hair.” (See RJN Ex. 5). It further states that PTFE
17   coatings on razor blades “provide a smoother and more comfortable shaving experience” and
18   “hav[e] the greatest combination of friction reduction and durability,” which explains why “current
19   lubricating coatings on razor blades still rely on [PTFE]” across “all the major manufacturers.”
20   Id. (emphasis added).
21            B.     Maine’s Disclosure Law and Consumer Sentiments
22            As Plaintiffs correctly point out (see Compl. ¶ 4), BIC disclosed its use of PFAS
23   (specifically, PTFE) in the Products to Maine’s Department of Environmental Protection in January
24   2023 pursuant to the state’s PFAS disclosure law. See 38 M.R.S.A. § 1614(2). This disclosure law
25   10
        See RJN Ex. 1; Compl. ¶ 31, n.16.
26   11
        Qian He, et al., A Close Shave: New PFAS-Free Alternatives to PTFE Surface Lubricating
     Coatings for Razor Blades Could Mean Great Shaving, Paint & Coatings Industry Magazine, (Aug
27
     7, 2023) available at https://www.pcimag.com/articles/111660-a-close-shave, attached as RJN Ex.
28   5; see also Compl. ¶ 18 n.4.
     12
        See Compl. ¶¶ 2 n.2 & 20 n.6.
                                                   4
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 1   required certain manufacturers to “submit to the department a written notification” that includes a
 2   description of the product (or category of products) that contains intentionally added PFAS. Id. In
 3   its disclosure, BIC reported that its razors contain between 3 and 30 micrograms of PTFE and that
 4   “razor blades from all manufacturers on the market use PTFE.” See RJN Ex. 1 (emphasis added).
 5   To be clear, Plaintiffs do not identify—nor does there exist—any law requiring BIC to disclose to
 6   consumers the ingredients in its razor Products.
 7            Although the Maine law did not require this information be made on the Product’s
 8   packaging or otherwise directly to consumers, BIC’s disclosure was accessible by members of the
 9   public, as demonstrated by Plaintiffs’ allegations. Indeed, BIC’s disclosure earned enough attention
10   from the media to attract the interest of Plaintiffs, who cite to these reports, 13 one of which concedes
11   that the “[p]ublic reporting of PFAS use in specific products” is already garnering consumer
12   attention. 14 Plaintiffs’ beef therefore is not that BIC failed to disclose the presence of PFAS in the
13   Products, but that it failed to do so to consumers directly.
14            In alleging that “consumers have grown increasingly aware of and concerned by PFAS,”
15   the Complaint cites (¶¶ 22-23) to an undisclosed survey that purportedly showed respondents
16   preferring products that are “safer” and “free of certain toxic chemicals.” Putting aside the fact that
17   this survey is facially unverifiable since Plaintiffs neglect to cite their source, no reasonable
18   inference can be drawn connecting these vague and generalized consumer preferences with
19   Plaintiffs’ allegations that, had BIC disclosed on the label that the Products contained trace levels
20   of PTFE, they “would not have purchased the Products or would have paid less for them.” (See id.
21   ¶¶ 9, 11). Quite critically, Plaintiffs do not allege any facts showing that cheaper alternatives exist
22   or that comparable razors without PTFE are commercially available, much less considered
23   acceptable by ordinary consumers. Nor could they – as their own citations would contradict them.15
24
     13
25      See Compl. ¶ 31 nn. 15 & 16.
     14
        Defend Our Health, PFAS use widespread in products sold in Maine, industry reports reveal
26   (Jan. 4, 2024) available at https://defendourhealth.org/news/pfas-use-widespread-in-products-sold-
     in-maine-industry-reports-reveal/, attached as RJN Ex. 6; see also Compl. ¶ 31 n.13.
27   15
        See Compl. ¶ 18 n.4, attached as RJN Ex. 5 (“Virtually all shaving razor blades have a PTFE-
28   lubricating coating”); Compl. ¶ 31 n.16, attached as RJN Ex. 1 (“[R]azor blades from all
     manufacturers on the market use PTFE”).
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 1            C.     The Complaint
 2            Plaintiffs allege that they purchased various BIC razors in January 2024 from third-party
 3   sellers. (Id. ¶¶ 9, 11). Each alleges that they “believed [they] [were] purchasing shaving razors free
 4   from PFAS, due to Defendant’s failure to mention the presence of PFAS on the label.” (Id.) Had
 5   BIC disclosed this fact, Plaintiffs claim they “would not have purchased the Products or would
 6   have paid less for them.” (Id.) Plaintiffs purportedly continue to desire to purchase the Products,
 7   but are “unable to determine if the Products are actually safe.” (Id. ¶¶ 10, 12).
 8            Throughout the Complaint, Plaintiffs allege that the Products “contain PFAS” without
 9   specifying what type or level of PFAS the Products purportedly contain (see e.g., ¶¶ 3, 7, 32, 34,
10   92, 104). Plaintiffs also broadly allege that “PFAS are unsafe” (id. ¶ 6), “pose undue health risks”
11   (id. ¶ 1), and are “linked to harmful health effects in humans” (id. ¶ 34). Yet, Plaintiffs do not allege
12   facts to show that PTFE, specifically, can cause any adverse health effects in humans, nor do they
13   allege that PTFE is harmful when used in a razor product. In fact, PTFE is only mentioned once
14   in the Complaint, in the title of an article found in footnote 4. (Id. ¶ 18, n.4).
15            Plaintiffs bring eight causes of action, all of which are based on the same alleged conduct—
16   that BIC “failed” to disclose the presence of “PFAS” to consumers. Those causes of action include:
17   a UCL claim based on “fraudulent” acts and practices (Count I), a UCL claim based on “unlawful”
18   acts and practices (Count II), a UCL claim based on “unfair” acts and practices (Count III), an FAL
19   claim (Count IV), a CLRA claim (Count V), fraud (Count VI), unjust enrichment (Count VII), and
20   negligent failure to warn (Count VIII).
21   III.     LEGAL STANDARD
22            To survive a motion to dismiss, a complaint must “contain sufficient factual matter,
23   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.
24   662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). While the Court
25   must accept well-pleaded facts as true, “conclusory allegations of law and unwarranted
26   inferences . . . are insufficient to avoid dismissal.” Kwan v. SanMedica Int’l, 854 F.3d 1088, 1096
27   (9th Cir. 2017) (quotations omitted); see also Twombly, 550 U.S. at 555 (“[L]abels and conclusions,
28   and a formulaic recitation of the elements of a cause of action will not do.”). The Court also may

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 1   reject allegations that are contradicted by documentary evidence on which the complaint
 2   “necessarily relies” – i.e., “if: (1) the complaint refers to the document; (2) the document is central
 3   to the plaintiff’s claim; and (3) no party questions the authenticity of the copy attached to the
 4   12(b)(6) motion.” Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006).
 5   IV.     ARGUMENT
 6           A.     Plaintiffs Fail to Plead a Viable Consumer Protection Claim
                    i.     Plaintiffs Do Not Plead Any Actionable Omissions Because They Fail to
 7
                           Allege A Duty To Disclose.
 8           All of Plaintiffs’ consumer protection claims (Counts I-V) should be dismissed because they
 9   fail to plead an actionable omission – i.e., that BIC had a duty to disclose the presence of PTFE in
10   the Products. In re Trader Joe’s Co. Dark Chocolate Litig., No. 3:23-cv-0061-RBM, 2024 WL
11   1319725, at *7, *11 (S.D. Cal. Mar. 27, 2024) (noting that courts analyze CLRA, FAL, and UCL
12   claims “together in omissions cases” and dismissing all three for failure to plead a duty to disclose).
13   After all, “California courts have generally rejected a broad obligation to disclose,” Hodsdon v.
14   Mars, Inc., 162 F. Supp. 3d 1016, 1024 (N.D. Cal. 2016), aff’d, 891 F.3d 857 (9th Cir. 2018)
15   (quoting Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1141 (9th Cir. 2012)), and approving
16   Plaintiffs’ disclosure theory here would impose an untenable obligation that is contrary to
17   established law and public policy. See Dana v. Hershey Co., 180 F. Supp. 3d 652, 664-65 (N.D.
18   Cal. 2016), aff’d, 730 F. App’x 460 (9th Cir. 2018) (“[S]ome bright-line limitation on a
19   manufacturer’s duty to disclose is sound policy, given the difficulty of anticipating exactly what
20   information some customers might find material to their purchasing decisions and wish to see on
21   product labels.”). “There are countless issues that may be legitimately important to many
22   customers, and the courts are not suited to determine which should occupy the limited surface area
23   of a [shaving razor package].” See id. Requiring BIC to disclose trace PTFE in its razor Products
24   to consumers—particularly in the absence of a law requiring such disclosure or any evidence to
25   support that this information is important to reasonable consumers—would vastly broaden a
26   manufacturer’s duty to disclose, violate “sound policy,” and set a daring precedent.
27           Under California law, an omission is only actionable if it is “contrary to a representation
28   actually made by the defendant or an omission of a fact the defendant was obligated to disclose.”

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 1   Hodsdon, 891 F.3d at 861. Because Plaintiffs do not claim that BIC made any affirmative full or
 2   partial misrepresentations—instead basing their claims solely on an omissions theory—they must
 3   allege that BIC was “obligated to disclose” the presence of PTFE in the Products, notwithstanding
 4   their failure to identify any law or regulation requiring such disclosure to consumers. Id.
 5   Specifically, Plaintiffs must allege that BIC’s omission “either (1) relates to an unreasonable safety
 6   hazard or (2) is material, ‘central to the product’s function,’ and meets one of the four LiMandri
 7   factors.” Hammerling v. Google LLC, 615 F. Supp. 3d 1069, 1086 (N.D. Cal. 2022) (quoting
 8   Hodsdon, 891 F.3d at 863) (emphasis added). The LiMandri factors are “(1) the defendant is in a
 9   fiduciary relationship with the plaintiff; (2) the defendant had exclusive knowledge of material facts
10   not known to the plaintiff; (3) the defendant actively conceals a material fact from the plaintiff; or
11   (4) the defendant makes partial representations but also suppresses some material facts.” Id. at
12   1085.
13            As set forth below, Plaintiffs’ meager allegations meet neither test. In fact, Plaintiffs do not
14   plead the existence of any of the aforementioned factors, which alone is dispositive of their
15   consumer protection claims.
16
                             a)      Plaintiffs fail to allege that BIC’s purported omission relates to
17                                   an unreasonable safety hazard.
18            To begin, Plaintiffs fail to plead that the presence of PTFE in the Products poses an

19   “unreasonable safety hazard” that is more than merely “conjectural and hypothetical.” Williams v.

20   Yamaha Motor Co. Ltd., 851 F.3d 1015, 1028 (9th Cir. 2017). Plaintiffs cannot plausibly allege

21   that the PTFE in BIC’s Products poses an “unreasonable safety hazard” by relying on allegations

22   that unspecified “PFAS” pose a generalized risk of harm that is untethered to the type and amount

23   of PFAS in the specific Products at issue. The Complaint cites a source stating that BIC’s Maine

24   Disclosure revealed the presence of one PFAS compound in the Products, PTFE, at levels of “3

25   micrograms to 30 micrograms.” 16 Other than this lone reference buried in a footnote source, the

26   Complaint does not address the type or amount of PFAS in the Products whatsoever. Instead,

27
     16
28     See supra n.2 (stating that “BIC razors contain PTFE,” as reported to the Maine Department of
     Environmental Protection”).
                                                   8
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 1   Plaintiffs broadly allege that the Products contain unspecified “PFAS” at unspecified levels. (See
 2   e.g., Compl. ¶¶ 1, 3, 7, 9, 83). And none of Plaintiffs’ allegations or cited sources states whether or
 3   how PTFE, specifically—as opposed to “PFAS” generally or other, unrelated PFAS—is harmful
 4   to humans. Indeed, Plaintiffs’ own sources confirm that not all PFAS are the same nor do regulatory
 5   agencies consider all PFAS to be toxic. 17 This is a blatant deviation from the pleading standard.
 6             Notwithstanding Plaintiffs’ failure to allege that PTFE is even harmful, district courts of
 7   California have held numerous times that plaintiffs must plausibly allege a threshold at which a
 8   particular chemical or contaminant poses a danger to human health in order to plead an
 9   “unreasonable safety hazard.” See Trader Joe’s, 2024 WL 1319725, at *11 (“Plaintiffs cannot just
10   say Heavy Metals can be unhealthy and these Products contain some level of Heavy Metals. They
11   have to connect the health risks alleged to the levels of Heavy Metals in these Products and they
12   have to be significant enough to be unfit for human consumption or an unreasonable safety
13   hazard.”); Hayden v. Bob’s Red Mill Nat. Foods, Inc., No. 23-cv-03862-HSG, 2024 WL 1643696,
14   at *9 (N.D. Cal. Apr. 16, 2024) (holding that plaintiff did not allege cadmium posed an
15   “unreasonable safety hazard” in the products because he failed to plead that “the level of cadmium
16   found in the [p]roducts is liable to cause ‘negative health effects in humans . . . .’”); In re Plum
17   Baby Food Litig., No. 4:21-cv-00913-YGR, 2024 WL 1354447, at *5 (N.D. Cal. Mar. 28, 2024)
18   (holding that plaintiffs’ assertion of a dangerous defect was “simply too conjectural” where they
19   generally alleged that heavy metals can be harmful in any amount but failed to “establish that the
20   amount of heavy metals and perchlorate in defendant’s Baby Food poses an unreasonable safety
21   hazard”) (emphasis added). As in Trader Joe’s, Plaintiffs here failed to “provide some connection
22   between the general harms” possible from PFAS and the specific levels of PTFE in these Products.
23   See 2024 WL 1319725, at *11.
24                            b)     Plaintiffs fail to allege that BIC’s omission is material, central to
25                                   the Products’ function, and meets any LiMandri factor.

26             Because Plaintiffs fail to allege an “unreasonable safety hazard,” they must plead that the

27   purported defect was material, central to the Products’ function, and that one of the four LiMandri

28   17
          See supra nn. 7 & 9, attached as RJN Exs. 3-4; see also RJN Exs. 7-8.
                                                    9
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 1   factors is satisfied. See id. at *10. Plaintiffs’ failure to adequately plead any one of those three
 2   elements is fatal to their consumer protection claims. Here, Plaintiffs fail to plead all three.
 3             First, Plaintiffs cannot plead that the purported defect was “material” because there are no
 4   allegations to support that the type and amount of PFAS in the Products would be of consequence
 5   to a reasonable consumer’s purchasing decision. See In re Apple Inc. Device Performance Litig.,
 6   386 F. Supp. 3d 1155, 1176-77 (N.D. Cal. 2019) (“A fact is ‘material’ if ‘a reasonable consumer
 7   would deem it important in determining how to act in the transaction at issue.’”). For example, in
 8   Brown v. Coty, Inc., the Southern District of New York held that plaintiff failed to plead defendant’s
 9   omission about the use of PFAS in its cosmetics was materially misleading where plaintiff did “not
10   specify which PFAS were present in [the products] or at what levels” and where the complaint—
11   like here (see supra nn. 7 & 9)—acknowledged that PFAS “differ in the type and severity of harm
12   they may produce and the level of exposure at which they are harmful.” No. 22-cv-2696 (AT), 2023
13   WL 2691581, at *5 (S.D.N.Y. Mar. 29, 2023). Like the plaintiff in Brown, Plaintiffs do not even
14   “specify which PFAS were present” or at “what levels.” Id. None of the sources cited in the
15   Complaint supports that PTFE—as opposed to any other “PFAS” compound—is harmful, let alone
16   that it is harmful when used in a razor product at the levels contained in BIC’s Products. Therefore,
17   there are no allegations to support the existence of a safety concern, such that a reasonable consumer
18   would deem the information “important” in deciding whether to purchase the Products. And
19   Plaintiffs’ conclusory allegations that they “would not have purchased the Products or would have
20   paid less for them” (Compl. ¶¶ 9, 11) do not suffice to establish materiality. See In re Apple Inc.
21   Device Performance Litig., 347 F. Supp. 3d 434, 460 (N.D. Cal. 2018) (holding that similar
22   allegations will not overcome the materiality requirement; rather, “[p]laintiffs must plead facts
23   sufficient to raise the plausible inference that [defendant’s] disclosure of the alleged defects” would
24   be important to a reasonable consumer’s purchasing decision). That is particularly true since
25   Plaintiffs also allege that “[v]irtually all shaving razor blades” contain PTFE, 18 making their
26   purported decision to stop purchasing these Products a practical choice to not use razor blades at
27   all.
28   18
          See supra n.11, attached as RJN Ex. 5.
                                                    10
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 1            Second, Plaintiffs fail to satisfy the “central function” prong because they “have not
 2   plausibly pled that the Products have ceased to function” as razors, Hayden, 2024 WL 1643696, at
 3   *10, or that the presence of PTFE in the Products “renders th[em] incapable of use by any
 4   consumer.” Hodsdon, 891 F.3d at 864 (“[T]he central functionality of the product is not based on
 5   subjective preferences about a product.”). To the contrary, Plaintiffs’ own citations indicate that
 6   PTFE helps razors function as intended by creating a more “comfortable shave” and that all shaving
 7   razor blades on the market contain PTFE. 19 So “[e]ven if [Plaintiffs] find the presence of these trace
 8   [levels of PTFE] to be of material concern”—which no reasonable consumer would—“the
 9   [Products] continue[] to function as [razors],” and thus Plaintiffs fail to establish that BIC had a
10   duty to disclose. See Plum Baby Food, 2024 WL 1354447, at *6-7 (dismissing FAL, CLRA, and
11   UCL claims after finding that plaintiffs failed to satisfy the “central function” prong).
12            Third, the Complaint satisfies none of the LiMandri factors to support a duty to disclose.
13   Plaintiffs do not and cannot allege that BIC is in a fiduciary relationship with them, and the
14   Complaint does not identify any representations concerning the presence or absence of PFAS that
15   would constitute even a “partial misrepresentation.” See Hammerling, 615 F. Supp. 3d at 1085.
16   Thus, Plaintiffs must adequately allege that BIC either had “exclusive knowledge of material facts
17   not known to the [P]laintiff[s]” or that BIC “actively conceal[ed] a material fact” from them. See
18   id. Plaintiffs do neither.
19            “[T]o sufficiently allege exclusive knowledge giving rise to a duty to disclose, plaintiffs
20   must proffer specific allegations regarding the content of information, how defendants had access
21   to this information, and how plaintiffs did not have access to or could not learn this information.”
22   Ahern v. Apple, Inc., 411 F. Supp. 3d 541, 575 (N.D. Cal. 2019) (emphasis added) (granting motion
23   to dismiss). Here, the Complaint does not meet this pleading standard—i.e., it does not include
24   “specific allegations” regarding the type and amount of PFAS in the Products, nor does it explain
25   how Plaintiffs had no access or opportunity to learn this information. Rather, the Complaint makes
26   only conclusory allegations as to Plaintiffs’ lack of knowledge of PFAS in razors. See, e.g., Compl.
27
     19
28     See id. (acknowledging that PTFE is considered one of the most effective razor blade coatings to
     reduce friction and ensure a comfortable shave).
                                                   11
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 1   ¶ 7 (“Based on Defendant’s omission, a reasonable consumer would expect that the Products are
 2   free from PFAS”); ¶ 9 (“Butler believed she was purchasing shaving razors free from PFAS, due
 3   to Defendant’s failure to mention the presence of PFAS on the label.”). These allegations are
 4   woefully insufficient, even under a more lenient “superior knowledge” standard. See Edenborough
 5   v. ADT, LLC, No. 16-cv-02233-JST, 2016 WL 6160174 (N.D. Cal. Oct. 24, 2016). Unlike
 6   Edenborough, where this Court held that plaintiff had sufficiently pleaded “superior knowledge”
 7   because the “specific workings and technological details of a wireless security system” were
 8   “outside the realm of knowledge of the average consumer,” id. at *6, the fact that BIC’s razors (and
 9   virtually all shaving razors on the market) contain PTFE is not an unknowable or esoteric piece of
10   information.
11             In fact, the entire basis of Plaintiffs’ lawsuit forecloses any possibility that BIC had
12   “superior,” let alone “exclusive” knowledge that the Products contain PFAS. For instance, Plaintiffs
13   purportedly learned this information through BIC’s Maine Disclosure—which was publicly
14   accessible and then published online by news media—that the company, like “all [razor]
15   manufacturers on the market[,] use[s] PTFE.” 20 See McCoy v. Nestle USA, Inc., 173 F. Supp. 3d
16   954, 967 (N.D. Cal. 2016), aff'd, 730 Fed. App’x. 462 (9th Cir. 2018) (finding no “exclusive
17   knowledge”—under “any definition”—where defendant made “public disclosures [as] detailed in
18   the Complaint”); Stickrath v. Globalstar, Inc., No. C07-1941-TEH, 2008 WL 344209, at *4 (N.D.
19   Cal. Feb. 6, 2008) (duty to disclose cannot be supported by “exclusive knowledge” theory where
20   plaintiffs’ allegations include disclosure by defendant “in public filing” with government agency).
21   What’s more, Plaintiffs cite another article—accessible through a simple internet search—that
22   states, “[v]irtually all shaving razor blades have a PTFE-lubricating coating on the edges to enhance
23   comfort while shaving.” 21 See Backhaut v. Apple, Inc., 74 F. Supp. 3d 1033, 1049 (N.D. Cal. 2014)
24   (no “exclusive knowledge” where information about alleged defect was previously published in
25   article online).
26             As the Southern District of California recently put it, “Plaintiffs’ own allegations reveal that
27
     20
28        See supra n.2, attached as RJN Ex. 1.
     21
          See supra n.11, attached as RJN Ex. 5.
                                                    12
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 1   [BIC] did not have ‘exclusive knowledge’ of the existence of PFAS in their Products. . . . Plaintiffs
 2   refer to [third-party sources], which revealed [BIC’s] [razors] contained PFAS. . . . [This]
 3   demonstrate[s] that the material facts alleged—the existence of PFAS in the Products’ []—were
 4   not within the exclusive knowledge of Defendant but available to the public. Th[us], Plaintiffs fail
 5   to assert a duty to disclose based on exclusive knowledge of a material fact.” See Hamman v. Cava
 6   Group, Inc., No. 22-cv-593-MMA, 2023 WL 3450654, at *9-10 (S.D. Cal. Feb. 8, 2023) (granting
 7   motion to dismiss claims premised on fraudulent omission).
 8            Finally, without alleging “specific affirmative acts on the part of [BIC] in hiding,
 9   concealing, or covering up the matters complained of,” Plaintiffs fail to assert a duty to disclose
10   based on active concealment. See id. at *10; cf. Ahern, 411 F. Supp. 3d at 576 n.5 (“[U]nder
11   California law, mere nondisclosure does not constitute active concealment and generalized
12   allegations with respect to active concealment will not do.”) (alterations and quotations omitted).
13   The Complaint’s sole suggestion (¶ 135) of concealment is a fact-bereft allegation that “[BIC] was
14   negligent . . . by concealing the risks” of PFAS. But Plaintiffs do not allege any affirmative steps
15   BIC took to “suppress information in the public domain or obscure consumers’ ability to gauge”
16   the alleged presence of PFAS. See Gray v. Toyota Motor Sales, No. CV 08-1690 PSG, 2012 WL
17   313703, at *10 (C.D. Cal. Jan. 23, 2012), aff’d, 554 F. App’x 608 (9th Cir. 2014) (dismissing
18   fraudulent concealment claim on this basis). In fact, BIC’s Maine Disclosure evidences the
19   opposite—i.e., that BIC took affirmative steps to disclose the information.
20            Accordingly, Plaintiffs do not plausibly allege a duty to disclose under California law, and
21   their CLRA, 22 UCL, and FAL claims should be dismissed for failure to plead an actionable
22   omission.
23
     22
24      The CLRA claim should also be dismissed since the Ninth Circuit limits the disclosure obligation
     under the CLRA to issues of product safety, which Plaintiffs have not alleged here. See, e.g., Dana,
25   180 F. Supp. 3d at 664 (“[T]he weight of authority limits a duty to disclose under the CLRA to
     issues of product safety, unless disclosure is necessary to counter an affirmative
26
     misrepresentation.”) (dismissing CLRA claim because plaintiff did not “allege any omission of
27   known dangers to the safety of customers”); Hodsdon, 162 F. Supp. 3d at 1026, aff’d, 891 F.3d 857
     (9th Cir. 2018) (failure to state a claim under the CLRA because “manufacturers are duty-bound to
28   disclose only information about a product’s safety risks and product defects,” not “where
     information may persuade a consumer to make different purchasing decisions.”).
                                                   13
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 1                    ii.    Plaintiffs’ Pure Omission Claims are Not Valid under the FAL.
 2           Even if Plaintiffs had adequately alleged a duty to disclose (they did not), their FAL claim
 3   (Count IV) nonetheless would fail because the FAL only applies to affirmative misrepresentations,
 4   not omissions. Similar to the rest of their claims, Plaintiffs’ FAL claim is purely omissions-based.
 5   (See Compl. ¶¶ 91-93). But the “plain language of the [FAL] . . . does not encompass omissions.”
 6   Dana, 180 F. Supp. 3d at 668-69 (dismissing FAL claim where plaintiff failed to allege the
 7   existence of any “false or misleading statement” and solely based her claims on “pure omissions”);
 8   see also Norcia v. Samsung Telecomms. Am., LLC, No. 14-cv-00582-JD, 2015 WL 4967247, at *8
 9   (N.D. Cal. Aug. 20, 2015) (“There can be no FAL claim where there is no ‘statement’ at all.”).
10   Courts in the Ninth Circuit routinely dismiss FAL claims in the absence of any allegations that the
11   defendant made an affirmative misrepresentation. See, e.g., Hedrick v. BSH Home Appliances
12   Corp., No. 2:23-cv-04752-JWH, 2024 WL 2190984, at *13 (C.D. Cal. May 14, 2024) (dismissing
13   FAL claim that was “purely based upon an alleged omission”); Norcia, 2015 WL 4967247 at *8
14   (“The FAL claim, to the extent based on a pure omission theory for plaintiff's benchmarking
15   allegations, is dismissed with prejudice.”); McCoy, 173 F. Supp. 3d at 970 (“Because [plaintiff]
16   bases her claims on pure omissions . . . [she] thus fails to state a claim under the FAL.”) (quotations
17   and internal citations omitted). So too here. Like the plaintiffs in Norcia, Hedrick, and McCoy,
18   Plaintiffs base their claims on “pure omissions” without pointing to any statement at all; as such,
19   their FAC claims likewise must fail.
20                    iii.   Plaintiffs’ “Unlawful” UCL Claim (Count II) Fails Because Plaintiffs Do
21                           Not Adequately Plead a Predicate Act.

22           “[T]o allege a claim under the ‘unlawful’ prong” of the UCL, Plaintiffs “must show a

23   violation of some independent law.” Vincent v. PNC Mortg., Inc., No. 14-cv-00833-KJM, 2014

24   WL 2766116, at *7 (E.D. Cal. June 18, 2014). Here, Plaintiffs rely on violations of the CLRA and

25   Song-Beverly Act as predicates for their “unlawful” UCL claim. (See Compl. ¶ 68). Because the

26   Complaint does not adequately plead violations of either law, Plaintiffs’ “unlawful” UCL claim

27   must fail. See Hammerling, 615 F. Supp. 3d at 1094 (“If the predicate claims fail, the UCL claim

28   also fails.”).

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 1            To the extent Plaintiffs anchor their “unlawful” UCL claim on an alleged CLRA violation,
 2   this claim must fail for the reasons described above. 23 See Sud v. Costco Wholesale Corp., 229 F.
 3   Supp. 3d 1075, 1088 (N.D. Cal. 2017), aff'd, 731 Fed. App’x 719 (9th Cir. 2018) (dismissing
 4   “unlawful” UCL claim where plaintiffs fails to adequately plead underlying CLRA violation).
 5            Plaintiffs’ “unlawful” UCL claim also fails to the extent it is premised on a violation of
 6   California’s Song-Beverly Consumer Warranty Act (the “Act”). (See Compl. ¶ 68). Plaintiffs
 7   neglect to assert any cause of action under the Act, let alone any allegation to support an inference
 8   that BIC violated the Act. In fact, there are no breach of warranty allegations in the Complaint
 9   whatsoever. Therefore, Plaintiffs’ lone reference to the Act in a single paragraph of the Complaint
10   cannot serve as a predicate for Plaintiffs’ UCL claim. See Hayden, 2024 WL 1643696, at *11
11   (dismissing unlawful UCL claim where plaintiff summarily listed predicate violations “without
12   alleging their elements or how Defendant’s conduct meets them.”). Without any predicate acts,
13   Plaintiffs’ unlawful UCL claim must fail.
14                    iv.    Plaintiffs’ “Unfair” UCL Claim (Count III) Fails for Several Reasons.

15            In addition to Plaintiffs’ failure to allege a duty to disclose—which in and of itself is

16   dispositive of Plaintiffs’ UCL claim—Plaintiffs’ claim under the “unfair” prong of the UCL fails

17   for additional reasons. This claim should be dismissed because it overlaps with the conduct in

18   Plaintiffs’ “unlawful” UCL claim (Count II) and separately fails on the merits.

19                           a)     The “unfair” UCL claim fails along with the “unlawful” claim.
              “In this District, when plaintiff’s claim under the unfair prong overlaps entirely with the
20
     conduct alleged in the fraudulent and unlawful prongs of the UCL, the unfair prong of the UCL
21
     cannot survive if the claims under the other two prongs do not survive.” Eidmann v. Walgreen Co.,
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     522 F. Supp. 3d 634, 647 (N.D. Cal. 2021) (alterations and quotations omitted). Here, all three of
23
     Plaintiffs’ UCL causes of action (Counts I-III) are based on the same underlying conduct: BIC’s
24
     failure to disclose that the Products contain PFAS. (Compl. ¶¶ 57, 59, 68, 70, 79, 82). By
25
     overlapping their third cause of action with the very same conduct that failed to support Plaintiffs’
26
     “fraudulent” and “unlawful” UCL claims (supra Sections IV.A.i and IV.A.iii), Plaintiffs’ “unfair”
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28   23
          See supra Section IV.A.i & n.22.

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 1   claim likewise “cannot survive.” See Eidmann, 522 F. Supp. 3d at 647; see also Sidhu v. Bayer
 2   Healthcare Pharms. Inc., No. 22-cv-01603-BLF, 2022 WL 17170159, at *9 (N.D. Cal. Nov. 22,
 3   2022) (dismissing “unfair” UCL claim because it was “based on the same conduct underlying the
 4   other two UCL [failed] claims”); Hadley v. Kellogg Sales Co., 243 F. Supp. 3d 1074, 1105 (N.D.
 5   Cal. 2017) (same).
 6                          b)      The “unfair” UCL claim fails on the merits.

 7          Even if Plaintiffs’ “unfair” UCL claim could survive the failure of its sister claims, it would

 8   also fail on the merits because BIC’s conduct satisfies neither test that this Court applies in

 9   evaluating the “unfair” prong of the UCL. Under the “public policy” test, a party must allege that

10   defendant’s conduct is “tethered to an underlying constitutional, statutory or regulatory provision,”

11   such that the practice “offends an establish public policy.” Elgindy v. AGA Serv. Co., No. 20-cv-

12   06304-JST, 2021 WL 1176535, at *10 (N.D. Cal. Mar. 29, 2021). Under the “balancing test,” courts

13   examine the practice’s “impact on its alleged victim, balanced against the reasons, justifications

14   and motives of the alleged wrongdoer . . . weighing the utility of the defendant’s conduct against

15   the gravity of the harm to the alleged victim.” Id. Plaintiffs’ claim fails under both tests.

16          As to the “public policy test,” Plaintiffs have not adequately alleged that BIC’s conduct

17   violates or offends a specific public policy. When the Ninth Circuit applied this test in Doe v. CVS

18   Pharmacy, Inc., 982 F.3d 1204, 1215 (9th Cir. 2020), it affirmed the district court’s denial of the

19   UCL unfairness claim because the plaintiffs did not explain how the defendant’s conduct violated

20   public policy. Similarly here, Plaintiffs allege that BIC “engaged, and continues to engage, in

21   conduct that violates the legislatively declared policies of” California Civil Code §§ 1572, 1573,

22   1709, 1710, 1711, and 1750 (Compl. ¶ 80), but Plaintiffs do not specifically allege how BIC

23   purportedly violated any of those statutes or what the “declared policies” of those statutes

24   purportedly are. Thus, as in CVS Pharmacy, because Plaintiffs “allege no facts that would support

25   their position, and their conclusory recitation of one of the UCL’s legal standards does not clarify

26   what conduct they claim is unfair,” see 982 F.3d at 1215, Plaintiffs fail to state a claim for “unfair”

27   conduct under the public policy test.

28          Plaintiffs’ “unfair” UCL claim also fails under the “balancing test,” because the utility of

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 1   BIC’s conduct—the use of PTFE in razor products to ensure a comfortable and effective shave—
 2   is not outweighed by the “gravity of the harm” posed to Plaintiffs in the form of purported economic
 3   injuries. See Elgindy, 2021 WL 1176535, at *10. The Complaint alleges no facts (such as less
 4   expensive alternatives) that would even allow the Court to undertake this inquiry. In fact, Plaintiffs
 5   appear to concede the widespread popularity and utility of coating razor products with PTFE.24
 6   Plaintiffs’ mere assertion that BIC’s undisclosed use of PTFE (which is an industry-wide practice)
 7   caused them “economic injuries” (id. at ¶ 34) while yielding “no benefit” (id. at ¶ 81) is manifestly
 8   inadequate. Cf. Krakauer v. Recreational Equip., Inc., No. C22-5830 BHS, 2024 WL 1494489, at
 9   *7 (W.D. Wash. Mar. 29, 2024) (finding no economic injury where plaintiff’s “bald assertion that
10   he would have paid less or not purchased the raincoat is unaccompanied by facts showing what
11   cheaper alternative products he might have purchased”). Contrast these bare assertions with those
12   that this Court has found sufficient: See, e.g., Elgindy, 2021 WL 1176535 at *10 (alleging “financial
13   injury to consumers of being charged an additional fee, on top of the insurance premium, for a
14   service that they do not want or need”); Backus v. Gen. Mills, Inc., 122 F. Supp. 3d 909, 930 (N.D.
15   Cal. 2015) (alleging that defendant “unfairly elect[ed] not to use [trans fat] substitutes in [a General
16   Mills product] in order to increase profit,” despite the “long list of negative health effects” from
17   consuming trans fats, and the availability of “safe, low-cost, and commercially acceptable
18   alternatives . . . including those used in competing brands”). In blatant contrast, Plaintiffs’ bald
19   economic injuries and “no benefit” allegations (Compl. ¶¶ 34, 81) do not rise to the level of
20   specificity seen in Elgindy or Backus. For example, unlike Backus, Plaintiffs do not identify any
21   “negative health effects” associated with the use of PTFE in the Products nor do they identify any
22   “safe, low-cost and commercially acceptable alternatives” to the use of PTFE in razor products.
23   Backus, 122 F. Supp. 3d at 930. As such, the balance of factors weighs in BIC’s favor, and
24   Plaintiffs’ “unfair” UCL claim must fail.
25            B.     Plaintiffs Fail to Satisfy Rule 9(b).
26            As an initial matter, Plaintiffs’ fraud claim (Count VI) is deficient because Plaintiffs do not
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     24
28     See supra n.11, attached as RJN Ex. 5 (accepting that “all major manufacturers” of razors rely
     on PTFE-coatings because they “provide a smoother and more comfortable shaving experience”).
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 1   allege the existence of an actionable omission. (See supra Section IV.A.i). Plaintiffs’ fraud and
 2   consumer protection claims also fail because they do not satisfy Rule 9(b). Because the consumer
 3   protection claims are grounded in fraud, they must satisfy a heightened pleading standard. See Fed.
 4   R. Civ. P. 9(b) (“In alleging fraud[,] . . . a party must state with particularity the circumstances
 5   constituting fraud.”); Kearns v. Ford Motor Co., 567 F.3d 1120, 1125-27 (9th Cir. 2009) (holding
 6   that when a plaintiff “alleges a unified fraudulent course of conduct,” their claims are “grounded in
 7   fraud” and the “entire complaint must therefore be pleaded with particularity”); In re Apple Inc.
 8   Device Perf. Litig., 386 F. Supp. 3d at 1164 (“Consumer-protection claims [under the CLRA, FAL,
 9   and UCL] that sound in fraud are subject to the heightened pleading requirements of [Rule 9(b)].”);
10   Harris v. LSP Prods. Group, Inc., No. 2:18-cv-02973-TLN, 2021 WL 2682045, at *9 (E.D. Cal.
11   June 30, 2021) (same). Plaintiffs’ allegations fall far short of this heightened pleading standard,
12   which in California requires allegations of “(a) misrepresentation (false representation,
13   concealment, or nondisclosure); (b) knowledge of falsity (or ‘scienter’); (c) intent to defraud, i.e.,
14   to induce reliance; (d) justifiable reliance; and (e) resulting damage.” Tabak v. Apple, Inc., No. 19-
15   cv-02455-JST, 2020 WL 9066153, at *8 (N.D. Cal. Jan. 30, 2020).
16          First, the Complaint lacks any particularized allegations of an “intent to defraud.” The only
17   allegations resembling such an intent are too conclusory and generalized to satisfy Plaintiffs’
18   burden. (See Compl. ¶¶ 80, 102). Indeed, the majority of allegations around “intent” concern BIC’s
19   alleged “intentional use of PFAS in the Products,” not BIC’s purported intention to defraud
20   consumers or induce reliance. (Id. ¶¶ 4, 30, 39, 112).
21          Second, Plaintiffs also fail to allege reliance because they do not plausibly connect BIC’s
22   purported omissions to their alleged injuries and demonstrate that, had the omitted information been
23   disclosed, they would have reconsidered purchasing the Products. See Daniel v. Ford Motor Co.,
24   806 F.3d 1217, 1225 (9th Cir. 2015) (requiring plaintiffs to show that the omission is material, such
25   that they would have “behaved differently”); cf. Hadley, 243 F. Supp. 3d at 1099 (“[U]nder Rule
26   9(b), [plaintiffs] must connect the dots showing how the alleged misbranding misled [them] in a
27   way that a reasonable consumer would be deceived.”). In Tabak, for example, this Court rejected
28   Apple device buyers’ fraudulent omission claims because they were “couched in general allegations

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 1   of concealment” and “lack[ed] specific factual matter to raise the reasonable inference that, had
 2   Apple disclosed information about the defect, [p]laintiffs ‘would have been aware of it and behaved
 3   differently.’” 2020 WL 9066153, at *9 (citation omitted).
 4            A recent district court opinion involving an alleged nondisclosure of PFAS in raincoats is
 5   particularly instructive. In Krakauer v. Recreational Equipment, Inc., No. C22-5830 BHS, 2024
 6   WL 1494489, at *1 (W.D. Wash. March 29, 2024) (“REI ”), the plaintiff alleged that “he would not
 7   have purchased the raincoat, or would have paid less for it, had REI adequately disclosed the
 8   presence of PFAS.” The court found this to be insufficient, explaining that this “bald assertion”
 9   was “unaccompanied by facts showing what cheaper alternative products he might have
10   purchased.” Id. at *7. Here, Plaintiffs’ allegations (Compl. ¶ 9) are similarly devoid of any specific
11   factual detail showing that they would have—or even could have—acted differently by purchasing
12   another brand’s razors. Indeed, Plaintiffs’ own citation confirms that “[v]irtually all shaving razor
13   blades have a PTFE-lubricating coating.” 25
14            Moreover, the Complaint fails to “connect the dots” between the supposed “health risks”
15   associated with unidentified “PFAS” (Compl. ¶ 1) and an actual risk of harm that would impact
16   consumer choice. See Hadley, 243 F. Supp. 3d at 1099. Plaintiffs contend that they would not have
17   purchased, or would have paid less for the Products had they “been aware” of the fact that the
18   Products contain “PFAS” (Compl. ¶ 9), but they do not explain why that information matters.
19   Baldly alleging that the entire group of PFAS compounds is “harmful” (id. ¶ 34) and that consumers
20   “care about the[ir] presence” (id. ¶ 33) does not suffice to explain why more prominent disclosure
21   of the PTFE in these specific Products would have impacted consumer choice. Nor does a passing
22   reference (id. at ¶ 22) to an unverified survey that purportedly showed consumer interest in “safe”
23   products free of “chemicals.” (See supra Section II.B). As in Tabak, the Complaint does not raise
24   a “reasonable inference” that disclosure of miniscule levels of PTFE in the Products’ blades would
25   have led consumers to “behave[] differently.” See 2020 WL 9066153 at *7-9. After all, the safety
26   of PTFE is not questioned in any of the sources cited in the Complaint, and PTFE has long been
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     25
28     See supra n.11 (noting that “current lubricating coatings on razor blades still rely on PFAS-
     containing materials for all the major manufacturers”).
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 1   approved by the FDA for medical devices and food-contact materials (like cookware), 26 which
 2   would pose far greater risk of exposure to the compound than a non-invasive razor product; unlike
 3   medical devices and cookware, the Products are not implanted directly into the body nor do they
 4   come into contact with food that is ingested in the body.
 5            C.     Plaintiffs’ Negligent Failure To Warn Claim Fails.

 6            Plaintiffs’ negligent failure to warn claim (Count VIII) fails because they do not plausibly

 7   allege that BIC’s Products contain a type and level of PFAS that causes a risk of harm, much less

 8   that BIC had a duty to disclose that information to consumers. A negligent failure to warn claim

 9   “requires a plaintiff to [allege] that a manufacturer or distributor did not warn of a particular risk

10   for reasons which fell below the acceptable standard of care, i.e., what a reasonably prudent

11   manufacturer would have known and warned about.” Mariscal v. Graco, Inc., 52 F. Supp. 3d 973,

12   991-92 (N.D. Cal. 2014) (citing Anderson v. Owens-Corning Fiberglas Corp., 53 Cal. 3d 987, 1002

13   (1991)). For example, in Kanan v. Thinx Inc., the court dismissed plaintiffs’ negligent failure to

14   warn claim in a class action alleging that defendant’s menstrual products contained PFAS and were

15   misleadingly marketed. No. 20-cv-10341-JVS, 2021 WL 4464200, at *8 (C.D. Cal. June 23, 2021).

16   The court reasoned that the “FDA does not require disclosure of individual ingredients” in the

17   products, and furthermore, that the plaintiffs “failed to plead that the [products] contain short-chain

18   PFAS of a type and at a level that poses a risk of harm.” Id. Similarly, the Complaint here identifies

19   no law requiring BIC to disclose a razor’s individual components to consumers. And, as in Kanan,

20   Plaintiffs fail to plead that the Products contain PFAS “of a type and at a level that poses a risk of

21   harm,” despite the fact that there are “thousands of PFAS with potentially varying effects and

22   toxicity levels,” according to the EPA. 27 As such, Plaintiffs’ negligent failure to warn claim must

23   be dismissed as similarly ill-pled.

24            This claim should also be dismissed as barred by the economic loss doctrine. Plaintiffs’

25   only alleged injury is economic (see Compl. ¶ 34), and the economic loss rule precludes recovery

26   for purely economic losses in a negligent failure to warn claim. See Snyder v. TAMKO Bldg. Prods.,

27   26
       See supra nn. 3 & 4.
     27
28     See supra n.8, attached as RJN Ex. 8. Even Plaintiff’s citation recognizes that there are “multiple
     classes of PFAS,” with some being “more toxic than many other[s].” Compl. ¶ 2 n.2.
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 1   Inc., No. 1:15-cv-01892-TLN, 2019 WL 4747950, at *9 (E.D. Cal. Sept. 30, 2019) (holding that
 2   economic loss rule bars claim for negligent failure to warn); Duttweiler v. Triumph Motorcycles
 3   (Am.) Ltd., No. 14-cv-04809-HSG, 2015 WL 4941780, at *7 (N.D. Cal. Aug. 19, 2015) (same).
 4          D.      Plaintiffs’ Unjust Enrichment Claim Fails.
 5          Plaintiffs’ unjust enrichment claim (Count VII) should be dismissed as duplicative of
 6   Plaintiffs’ failed consumer protection claims. Plaintiffs base this cause of action on the same
 7   conduct, and seek the same relief (restitution), as their consumer protection claims. See Compl.
 8   ¶ 120 (alleging that BIC was “unjustly enriched in retaining the revenues derived from Plaintiffs’
 9   and the Class members’ purchases of the Products,” which is purportedly “inequitable” because
10   BIC omitted the fact that “the Products contained PFAS); ¶ 123 (seeking restitution in the form of
11   the revenues derived from BIC’s sales). Because each of Plaintiffs’ other claims fails as a matter
12   of law, there is no predicate act for their unjust enrichment claim. Courts in this District regularly
13   dismiss claims for unjust enrichment in similar circumstances. See, e.g., Musgrave v. ICC/Marie
14   Callender's Gourmet Prods. Div., No. 14-cv-02006-JST, 2015 WL 510919, at *10 (N.D. Cal. Feb.
15   5, 2015) (dismissing unjust enrichment claim because it “duplicates Plaintiff’s other statutory and
16   common law claims”); Jefferson v. Healthline Media, Inc., 674 F. Supp. 3d 760, 764 (N.D. Cal.
17   2023) (dismissing unjust enrichment claim that was “effectively tether[ed]” to a consumer
18   protection claim); Samet v. Procter & Gamble Co., No. 5:12-cv-01891-PSG, 2013 WL 3124647,
19   at *10 (N.D. Cal. June 18, 2013) (dismissing unjust enrichment claim because the “complaint
20   allege[d] no facts not already covered by the UCL, FAL, and CLRA claims, which already provide
21   for restitution as a remedy”). So too here; Plaintiffs’ unjust enrichment claim is likewise
22   “effectively tether[ed]” to their consumer protection claims and fails to allege any “facts not already
23   covered” by their deficient UCL, FAL, and CLRA claims. Jefferson, 674 F. Supp. 3d at 764; Samet,
24   2013 WL 3124647, at *10.
25          Furthermore, Plaintiffs bring their unjust enrichment claim on behalf of a nationwide Class,
26   and in the alternative, the California Subclass (Compl. ¶ 117), but they do not allege which state
27   law governs the claim. This is grounds for dismissal. See Hrapoff v. Hisamitsu Am., Inc., No. 21-
28   cv-01943-JST, 2022 WL 2168076, at *7 (N.D. Cal. June 16, 2022) (granting motion to dismiss

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 1   unjust enrichment claim where plaintiff failed to allege which state law governs); In re Nexus 6P
 2   Prods. Liab. Litig., 293 F. Supp. 3d 888, 933 (N.D. Cal. 2018) (“As this Court and other courts in
 3   this district have recognized, due to variances among state laws, failure to allege which state law
 4   governs a common law claim is grounds for dismissal.”) (dismissing unjust enrichment claim).
 5          E.      The Court Should Dismiss or Strike Plaintiffs’ Nationwide Class Allegations.

 6          Plaintiffs improperly assert the claims of non-resident class members against BIC for
 7   conduct occurring outside of California. Plaintiffs bring their fraud (Count VI), unjust enrichment
 8   (Count VII), and negligent failure to warn claims (Count VIII) on behalf of a nationwide “Class,”
 9   and in the alternative, the California Subclass. (Compl. ¶¶ 111, 117, 129). The nationwide “Class”
10   is defined as “[a]ll persons within the United States who purchased the Products . . . .” (Id. ¶ 42).
11   Plaintiffs do not allege under which state law they bring Counts VI-VIII. To the extent they allege
12   these claims under California law on behalf of a nationwide class, these claims must be dismissed
13   because “California law presumptively does not apply to conduct that occurs outside of California.”
14   Bernstein v. Virgin Am., Inc., 227 F. Supp. 3d 1049, 1062 (N.D. Cal. 2017) (Tigar, J.), aff’d, 3 F.4th
15   1127 (9th Cir. 2021). In order to avoid this presumption against extraterritoriality, Plaintiffs must
16   plead that the “alleged wrongful conduct occurred in California.” Id. at 1063. Yet, there are no
17   allegations linking the purchases of the nationwide class members, who purportedly purchased the
18   Products throughout the United States, to California. Nor are there allegations linking BIC’s
19   conduct to California. Plaintiffs acknowledge that BIC is a Delaware corporation with its
20   headquarters in Shelton, Connecticut (Compl. ¶ 13) but fail to contend that BIC’s alleged conduct
21   arose in California. The mere fact that BIC “manufactures, markets, and sells shaving razors,
22   including the Products, throughout California and the United States” (id.) does not justify
23   subjecting BIC to the burden of defending a nationwide class action in California based on claims
24   that have nothing to do with California.
25          Therefore, Plaintiffs’ attempted assertion of claims, purportedly under California law, on
26   behalf of non-California residents is improper. See, e.g., Oxina v. Lands’ End, Inc., No. 14-cv-
27   2577-MMA, 2015 WL 4272058, at * 10 (S.D. Cal. June 19, 2015) (dismissing nationwide class
28   claims “because Plaintiff does not allege that the misconduct suffered by the nationwide class

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 1   occurred inside California, or that Defendant’s headquarters or principal place of operations are
 2   inside California”).
 3
     V.     CONCLUSION
 4
            For the reasons discussed above, the Court should dismiss the Complaint in its entirety.
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 6

 7
     Date: August 12, 2024                           HOGAN LOVELLS US LLP
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 9
                                                By: /s/ Trenton H. Norris
10
                                                     Trenton H. Norris
11                                                   Lauren S. Colton

12                                                   Attorneys for Defendant
                                                     BIC USA Inc.
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